            If this opinion indicates that it is “FOR PUBLICATION,” it is subject to
                 revision until final publication in the Michigan Appeals Reports.




                            STATE OF MICHIGAN

                             COURT OF APPEALS


JON SNYDER, Personal Representative of the                           UNPUBLISHED
ESTATE OF CHRISTINA CAROLINE SNYDER,                                 August 22, 2024

               Plaintiff-Appellee,

v                                                                    No. 367210
                                                                     Washtenaw Circuit Court
CHARLES EDWARD HORN, LINDA LORRAINE                                  LC No. 19-000769-NI
HORN, and STATE FARM MUTUAL
AUTOMOBILE INSURANCE COMPANY,

               Defendants,

and

CITY OF YPSILANTI,

               Defendant-Appellant.


Before: O’BRIEN, P.J., and CAVANAGH and SHAPIRO*, JJ.

SHAPIRO, J. (dissenting).

       I respectfully dissent. In my view, this case is controlled by Martin v Rapid Inter-Urban
Transit Partnership, 480 Mich 936; 740 NW2d 657 (2007), a case the majority fails to address
and which either implicitly overruled or sharply limited the effect of Chandler v County of
Muskegon, 467 Mich 315; 652 NW2d 224 (2002) and Poppen v Tovey, 256 Mich App 351; 664
NW2d 269 (2003), the two cases relied on by the majority.

        In Martin, the plaintiff claimed that she was injured when she slipped and fell on bus steps
while exiting and alleged that the failure to remove ice and snow from the steps constituted
negligent operation. The trial court denied summary disposition but this Court reversed relying
on Chandler and holding that the failure to clear the steps was a failure of maintenance and did
not constitute negligent operation. The Supreme Court reversed our decision and reinstated the
case. It held that even though the bus in question was stationary, “[t]he loading and unloading of

*Former Court of Appeals judge, sitting on the Court of Appeals by assignment.


                                                -1-
passengers is an action within the ’operation‘ of a shuttle bus.” Id. In other words, whether or not
the vehicle was being driven at the moment of injury was not controlling. Indeed, the condition
of the steps would seem to have no connection to driving the bus or interaction with other motor
vehicles on the road. Rather, the issue was whether the use of the vehicle was “an action within
the operation of” a shuttle bus. See also, Strozier v Flint Community Schools, 295 Mich App 82;
811 NW2d 59 (2011).

        In this case, the defendant’s fire engine was blocking the right lane on I-94, a major
highway with vehicles operating at 70 mph. The fire truck did not just happen to be “parked” there
nor had it ceased operation. Rather, it was engaged in an activity well within its scope of operation
– attending to accident victims and placing the vehicle in a manner intended to shield the accident
scene from oncoming traffic.

        I would therefore affirm the trial court’s denial of summary disposition and remand for
further proceedings.1




                                                              /s/ Douglas B. Shapiro




1
  The second issue, whether there was a question of fact regarding negligence was not reached by
the majority. As to that issue, I would hold that the evidence presented by the plaintiff, including
the testimony of its expert that the firetruck should have been on the shoulder and not in a travel
lane, established a question of fact.


                                                -2-
